













COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


________________________________________________________

NUMBER 13-06-415-CV



SCOGGINS CONSTRUCTION COMPANY, INC.,		Appellant,


v.



HECTOR G. LEAL AND SAN BENITO INDEPENDENT 

SCHOOL DISTRICT,	Appellees.

_______________________________________________________


On appeal from the 107th  District Court


of Cameron County, Texas.


________________________________________________________




NUMBER 13-06-492-CV


IN RE  SCOGGINS CONSTRUCTION COMPANY, INC.


________________________________________________________


On Petition for Writ of Mandamus


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MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam


	Scoggins Construction Company, Inc. sought review of the trial court's denial
of its motion to compel arbitration through an interlocutory appeal and a petition for
writ of mandamus.  The parties have now filed joint motions to vacate and remand in
accordance with agreement of the parties.  In their motion, the parties request that this
Court vacate the trial court's interlocutory order and remand this case for further
proceedings in accordance with the agreement of the parties.  The parties further
requests that costs be taxed against the party incurring same.

	The Court, having considered the documents on file and the joint motions to
vacate and to remand in accordance with agreement of the parties, is of the opinion
that the motions should be granted.  The joint motions to vacate and to remand in
accordance with agreement of the parties are GRANTED.  The trial court's
interlocutory order denying motion to compel arbitration is hereby VACATED, and the
cause is REMANDED to the trial court in accordance with the agreement of the parties.


							PER CURIAM


Memorandum Opinion delivered and filed this

the 22nd day of March, 2007.


